     Case 1:21-cv-01188-ADA-ML             Document 56        Filed 04/14/25      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 U.S. BANK TRUST NATIONAL                         §
 ASSOCATION, as Trustee of the Tiki               §
 Series IV Trust,                                 §
                  Plaintiff,                      §
 v.                                               §        A-21-CV-1188-RP-ML
                                                  §
 JERRY K WALDEN, JR., also known as               §
 Jerry K. Walden, and TAMATHA                     §
 WALDEN,                                          §
                    Defendants.                   §

                                              ORDER

       Pursuant to the court’s order, the parties in this case filed their Joint Status Report (Dkt.

54) on March 18, 2025. In the status report, the parties indicated that Plaintiff would file a motion

seeking an order from the court that would allow Plaintiff to seek a new order and proceed with a

non-judicial sale of the property. Dkt. 54 at 3. To date, neither party has filed a motion.

       Therefore, the court ORDERS the parties to move for any relief to which they believe they

are entitled in the wake of the Fifth Circuit remand. The parties may meet and confer to decide

whether to file one joint motion or separate motions for relief. The court further ORDERS the

parties to file their motions on or before May 2, 2025.




         SIGNED April 14, 2025.
                                                      _______________________________
                                                      MARK LANE
                                                      UNITED STATES MAGISTRATE JUDGE
